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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS

KYLE ALEXANDER, et al.,                       )
                                              )
               Plaintiffs,                    )
                                              )
v.                                            ) Case No. 14-CV-2159-KHV-JPO
                                              )
BF LABS INC.,                                 )
                                              )
               Defendant.                     )

                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on the 20th day of March, 2015, Defendant BF

Labs Inc.’s Supplemental Answers and Objections to Plaintiff’s First Interrogatories were served

on the following by electronic mail:

Noah K. Wood, Esq. (noah@woodlaw.com)
Ari N. Rodopoulos, Esq. (ari@woodlaw.com)
Wood Law Firm, LLC
1100 Main Street, Suite 1800
Kansas City, MO 64105-5171

Attorneys for Plaintiff

                                       Respectfully submitted,



                                       /s/ Michael S. Foster
                                       James M. Humphrey                       KS Fed. #70664
                                       Michael S. Foster                           KS #24011
                                       Polsinelli PC
                                       900 W. 48th Place, Suite 900
                                       Kansas City, Missouri 64112-1895
                                       Telephone: (816) 753-1000
                                       Facsimile: (816) 753-1536
                                       jhumphrey@polsinelli.com
                                       mfoster@polsinelli.com

                                       Attorneys for Defendant BF Labs Inc.
     Case 2:14-cv-02159-KHV-JPO
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on March 20, 2015, I electronically filed the foregoing with the Clerk
of the Court using the CM/ECF system which sent notification of such filing to the following:

Noah K. Wood, Esq.
Ari N. Rodopoulos, Esq.
Wood Law Firm, LLC
1100 Main Street, Suite 1800
Kansas City, MO 64105-5171

Attorneys for Plaintiff


                                      /s/ Michael S. Foster
                                      Attorney for Defendant




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